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                       Exhibit A
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   1
                             UNITED STATES DISTRICT COURT
   2                        CENTRAL DISTRICT OF CALIFORNIA
   3
   4   JENNY LISETTE FLORES, et              )   Case No. 85-4544-DMG (Px)
   5   al.,                                  )
                                             )   DECLARATION OF MANOJ
   6         Plaintiffs,                     )   GOVINDAIAH, ESQ.
   7                                         )
                       v.
                                             )
   8   JEFFERSON B. SESSIONS,                )
   9   Attorney General, et al.,             )
                                             )
  10         Defendants.                     )
  11                                         )
                                             )
  12
  13         I, Manoj Govindaiah, declare as follows:
  14   1.    I am the Director of Family Detention Services at RAICES, a nonprofit
  15   agency that promotes justice by providing free and low-cost legal services to
  16   underserved immigrant children, families, and refugees in Texas. RAICES is the
  17   largest immigration legal services provider in Texas. As Director of Family
  18   Detention Services, I oversee RAICES’ work at Texas’ family detention centers—
  19   in particular, its work at the Karnes County Residential Center in Karnes City,
  20   Texas.
  21   2.    RAICES visits the Karnes facility four to five times each week provide legal
  22   services to families detained there. Families reach us through word of mouth,
  23   various sign-up sheets, referrals, and through our Karnes hotline. RAICES
  24   provides legal services to an estimated 90% of the families detained at Karnes.
  25   3.    RAICES routinely updates and maintains data on our work at Karnes for
  26   administrative and other purposes. Our internal statistics show that in the year
  27   between July 1, 2017 and June 26, 2018, we provided legal services to 5,177
  28   families units detained at Karnes. Nearly all the families we worked with during


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   1   that time period had bona fide fears of persecution in their home countries. Indeed,
   2   approximately 5,000 family units we served received positive credible fear
   3   determinations by an asylum officer or an immigration judge, and were permitted
   4   to pursue their asylum claims in immigration court.
   5   4.     In contrast, the small minority of families who indicated that they did not
   6   have a fear of return received expedited removal orders and were generally
   7   deported from the United States within a few days afterwards.
   8
   9         I declare under penalty of perjury of the laws of the State of California and
  10   the United States that the foregoing is true and correct to the best of my knowledge
  11   and belief.
  12
  13         Executed this 27th day of June 2018, in San Antonio, Texas.
  14
  15                                                /s/ Manoj Govindaiah
                                                    Manoj Govindaiah
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